Case 24-50346-grs       Doc 114    Filed 06/04/24 Entered 06/04/24 22:36:16            Desc Main
                                   Document     Page 1 of 6



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

       In re: Fast Flow Plumbing, LLC                               Case No. 24-50346
              Debtor                                                Chapter 11
                                                                    Small Business Case
                                                                    Hon. Gregory R. Shaaf

                      DEBTOR’S MOTION TO SET ASIDE ORDER OF RELIEF

       Fast Flow Plumbing, LLC (“Debtor”), by and through counsel, hereby moves the Court for

the entry of an order setting aside the Order Sustaining the motion for Toyota Industries

Commercial Finance Inc (“Creditor”, “Toyota Industries”)), or in the Alternative for Adequate

Protection entered on June 2, 2024. [ECF No. 113, the “Relief Order”]. Counsel for Debtor’s

failure to timely file an objection to the motion was a result of excusable neglect and by no means

an effort to thwart the judicial process or prejudiced the Creditor’s rights. Debtor is furthermore

requesting the Stay Relief Order be stayed until June 17, 2024, pursuant to Fe. R. Bankr. P.

4001(a)(3). The following memorandum is provided in support of the relief requested.

                                           HEARING

       Please take notice that the foregoing motion shall be heard on June 18, 2024 at 9:00 am at

the U.S. Bankruptcy Court Community Trust Building, 100E Vine Street, 2nd Floor Courtroom,

Lexington KY 40507.

                                     BASIS FOR RELIEF

      Debtor filed his petition for relief under chapter 11 of the bankruptcy code March 26, 2024.

      On March 29, 2024, Debtor moved for and obtained an Interim Order Authorizing Debtor

      in Possession to Use Cash collateral and establishing adequate protection payments. [ECF

      Nos. 15, 44].
Case 24-50346-grs     Doc 114     Filed 06/04/24 Entered 06/04/24 22:36:16             Desc Main
                                  Document     Page 2 of 6



     Pursuant to the interim Order, Debtor was directed to among other things, segregate,

     beginning on April 5, 2024 $1,521.91 per week from the cash collateral as adequate

     protection for the secured lenders listed in [ECF No. 15, p. 3, which identified the three

     vehicles at issue in the Creditor’s motion [the “Relief Motion”]. Namely: (1) the 2022

     Chevrolet Express Commercial Van 1GB0GSF76N1155945; (2) the 2022 Chevrolet

     Express Commercial Van 1GB0GSF79N1155857; and (3)the 2022 Chevrolet Express

     Commercial Van 1GB0GSF72N1155778.

     Debtor’s first cash collateral motion did not break out payments to individual creditors due

     to the absence of accurate information about the secured lenders’ claims.

     On April 16, 2024, Debtor supplemented the record and by April 22, 2024, obtained a

     second interim order for use of cash collateral, which increased the adequate protection

     payments to $1,651.11 starting in the week ending April 21, 2024. [ECF No. 60]. Included

     in the adequate protection payments was $415.46 that was to be segregated on a weekly

     basis for the benefit of the Creditor.

     On May 6, 2024, a third interim order for cash collateral also included $415.46 in weekly

     amount that was to be segregated for the benefit of the Creditor. [ECF No. 81].

     On May 16, 2024, Creditor moved for relief from stay in part on the grounds that adequate

     protection payments were not being made. Creditor acknowledges that it was aware that the

     cash collateral order required Debtor to segregate adequate protection payment in the

     amount of $1,798.95 for the benefit of Toyota Industries. [ECF No. 94, p2, ¶8].

     Yet, Creditor did not contact counsel to arrange for the disbursement of the funds that have

     been ordered as adequate protection payments and segregated in accordance with the related

     orders.
Case 24-50346-grs       Doc 114    Filed 06/04/24 Entered 06/04/24 22:36:16                Desc Main
                                   Document     Page 3 of 6



      Debtor’s Counsel was served with the motion. However, counsel mis-calendared the

      deadline for the response, and mistakenly conflated the 14-day deadline on this matter with

      that of other motions filed in this and other cases.

      As directed by the court, Debtor has segregated $2,044.81 for the benefit of the Creditor for

      the period starting on April 5, 2024 and ending on May 5, 2024, and has segregated adequate

      protection payment in the total amount of $3,674.17 as of week ending June 2, 2024.

      Creditor had requested adequate protection payments as an alternative to the relief from

      stay. Debtor is requesting that the Relief be stayed for the until June 17t, 2024, and thereafter

      vacated, provided that Debtor turn over adequate protection payments in the amount of

      $4,505.09 to the Creditor continue to make regular payments directly to Creditor from that

      point on.

       Fed. R. Civ. P. 60 applies in cases under the Bankruptcy Code. Fed. R. Bankr. P 9024. The

rule states in relevant part that: “on a motion and just terms, the court may relieve a party or its

legal representative from a final judgment, order, or proceeding on the grounds of “mistake,

inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b).

       “For the purposes of Rule 60(b), ‘excusable neglect’ is understood to encompass situations

in which the failure to comply with a filing deadline is attributable to negligence.” Brown, King

Constr., LLC v. Spivey (In re Spivey), Nos. 08-35118, 09-3028, 2010 Bankr. LEXIS 4645, at *11

(Bankr. E.D. Tenn. Dec. 14, 2010) (internal citations omitted). In determining whether the

negligence is excusable, a court looks to three factors: “(1) whether the party seeking relief is

culpable; (2) whether the party opposing relief will be prejudiced; and (3) whether the party

seeking relief has a meritorious claim or defense.” Lyon v. Baker (In re ClassicStar, LLC), Nos.
Case 24-50346-grs       Doc 114     Filed 06/04/24 Entered 06/04/24 22:36:16              Desc Main
                                    Document     Page 4 of 6



07-51786, 09-5155, 2011 Bankr. LEXIS 2374, at *14-15 (Bankr. E.D. Ky. June 18, 2011)(internal

citations omitted).

       A party's conduct is said to be culpable “if it displays either an intent to thwart judicial

proceedings or a reckless disregard for the effect of its conduct on those proceedings.” Williams v.

Meyer, 346 F.3d 607, 613 (6th Cir. 2003); see also In re Jarman, No. 03-22430, 2004 Bankr.

LEXIS 984, at *7 (Bankr. E.D. Ky. July 21, 2004) (finding excusable neglect when Trustee's

failure to respond to motion for relief from stay was not intended to thwart judicial proceedings or

recklessly disregarded the effect of its conduct on those proceedings.)

       Here, counsel’s conduct was not culpable, nor was it intended to thwart the judicial

proceedings. Counsel’s neglect was due to inadvertence and confusion about the docket, which

resulted in part from the Creditor filing the motion twice once on May 16, 2024 [ECF Nos. 91 and

94]. Likewise, a different creditor in this case filed three motions for relief from stay based on

identical claims, between April 30, 2024 and May 20, 2024 [ECF No. 70, , 99, and 100]. In total

five (5) relief motions related to two (2) secured claims and eight (8) different vehicles were filed

in the span of three (3) weeks. All of which seeking adequate protection payments that were being

segregated pursuant to a court order. Suffice it to say that counsel lost track of the 14-day deadline

for responding to the Relief Motion at issue. By no means did counsel intend to thwart the judicial

proceedings in this case.

       More importantly, Toyota Industries is not prejudiced by counsel’s inadvertence because

it requested adequate protection payments as an alternative to relief from stay. Moreover, a 14-day

stay of the enforcement of the Relief Order is imposed by operation of Fed. R. Bankr. P. 4001(c),

The stay will be in effect until the day prior to the hearing on this Motion. Creditor will have ample
Case 24-50346-grs       Doc 114     Filed 06/04/24 Entered 06/04/24 22:36:16             Desc Main
                                    Document     Page 5 of 6



opportunity to reiterate its arguments for relief and against the vacating of the Relief Order.

Counsel submits that his request for relief is meritorious for the reasons set forth above.

       Debtor is ready, willing, and able to disburse to Toyota Industries the balance of the

adequate protection payments due to it as ordered by the Court. Debtor is also ready to start making

regular adequate protection payments directly to Toyota Industries. As set forth in the Relief

motion, Toyota Industries would have accepted adequate protection payments as appropriate relief.

Vacating the order will merely re-establish the status quo that had existed before the Relief Order

was granted.

       Based on the foregoing, Debtor requests the entry of an order setting aside the Relief Order

case pursuant to this Court’s authority to issue any order that is appropriate to carry out the

provisions of Title 11 of the United States Code.

                                                      Respectfully,

                                                      /s/ J. Christian Dennery
                                                      J. Christian A. Dennery (KBA No. 95878)
                                                      PO Box 121241
                                                      Covington, KY 41012
                                                      859-692-3685
                                                      859-286-6726
                                                      jcdennery@dennerypllc.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that on Tuesday, June 4, a copy of the foregoing motion was served all
parties registered to receive notice through the Court’s ECF System, and on the following by U.S.
Regular Mail.


       John Erin McCabe                               Toyota Industries Commercial Finance Inc.
       jmccabe@weltman.com                            C/O Weltman, Weinberg, and Reis CO., LPA
       Attorney for Creditor                          965 Keynote Circle
       312 Elm Street, Suite 1200                     Brooklyn Heights, OH 44131
       Cincinnati, OH 45202
       877-338-9484
Case 24-50346-grs   Doc 114   Filed 06/04/24 Entered 06/04/24 22:36:16    Desc Main
                              Document     Page 6 of 6



                                                        /s/ J. Christian Dennery
                                                        J. Christian Dennery
